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 5
                                   UNITED STATES DISTRICT COURT
 6
                                           DISTRICT OF NEVADA
 7
     UNITED STATES OF AMERICA,                        )
 8                                                    )
                           Plaintiff,                 )
 9                                                    )
            v.                                        ) 2:10-CR-454-JCM-(GWF)
10                                                    )
   FRANCISCO GARCIA,                                  )
11 ELOY GARCIA,                                       )
   EFRAIN GARCIA, and                                 )
12 NABOR GARCIA,                                      )
                                                      )
13                         Defendants.                )
14                                      FINAL ORDER OF FORFEITURE

15           On November 1, 2011, the United States District Court for the District of Nevada entered a

16 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States

17 Code, Section 981(a)(1)(A) and (a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18,

18 United States Code, Section 982(a)(1); and Title 21, United States Code, Section 853(p) based upon

19 the plea of guilty by defendant FRANCISCO GARCIA to the criminal offenses, forfeiting the property

20 set forth in the Plea Memorandum, the Bill of Particulars, the Amended Bill of Particulars, and the

21 Forfeiture Allegations of the Criminal Indictment and shown by the United States to have the requisite

22 nexus to the offenses to which defendant FRANCISCO GARCIA pled guilty. Criminal Indictment,

23 ECF No. 1; Bill of Particulars, ECF No. 64; Amended Bill of Particulars, ECF No. 79; Change of Plea,

24 ECF No. 94; Plea Memorandum, ECF No. 95; Preliminary Order of Forfeiture, ECF No. 96.

25           On November 2, 2011, the United States District Court for the District of Nevada entered a

26 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States
       Case
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 1 Code, Section 981(a)(1)(A) and (a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18,

 2 United States Code, Section 982(a)(1); and Title 21, United States Code, Section 853(p) based upon

 3 the plea of guilty by defendant EFRAIN GARCIA to the criminal offenses, forfeiting the property set

 4 forth in the Plea Memorandum and the Forfeiture Allegations of the Criminal Information and shown

 5 by the United States to have the requisite nexus to the offenses to which defendant EFRAIN GARCIA

 6 pled guilty. Criminal Information, ECF No. 100; Plea Memorandum, ECF No. 102; Preliminary Order

 7 of Forfeiture, ECF No. 103; Change of Plea, ECF No. 115.
 8           On November 3, 2011, the United States District Court for the District of Nevada entered a

 9 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States

10 Code, Section 981(a)(1)(A) and (a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18,

11 United States Code, Section 982(a)(1); and Title 21, United States Code, Section 853(p) based upon

12 the plea of guilty by defendant ELOY GARCIA to the criminal offenses, forfeiting the property set

13 forth in the Plea Memorandum, the Bill of Particulars, the Amended Bill of Particulars, and the

14 Forfeiture Allegations of the Criminal Indictment and shown by the United States to have the requisite

15 nexus to the offenses to which defendant ELOY GARCIA pled guilty. Criminal Indictment, ECF No.

16 1; Bill of Particulars, ECF No. 64; Amended Bill of Particulars, ECF No. 79; Change of Plea, ECF No.

17 105; Plea Memorandum, ECF No. 107; Preliminary Order of Forfeiture, ECF No. 108.

18           On November 3, 2011, the United States District Court for the District of Nevada entered a

19 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States

20 Code, Section 981(a)(1)(A) and (a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18,

21 United States Code, Section 982(a)(1); and Title 21, United States Code, Section 853(p) based upon

22 the plea of guilty by defendant NABOR GARCIA to the criminal offenses, forfeiting the property set

23 forth in the Plea Memorandum, the Bill of Particulars, the Amended Bill of Particulars, and the

24 Forfeiture Allegations of the Criminal Indictment and shown by the United States to have the requisite

25 nexus to the offenses to which defendant NABOR GARCIA pled guilty. Criminal Indictment, ECF

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 1 No. 1; Bill of Particulars, ECF No. 64; Amended Bill of Particulars, ECF No. 79; Change of Plea, ECF

 2 No. 110; Preliminary Order of Forfeiture, ECF No. 111; Plea Memorandum, ECF No. 113.

 3           This Court finds the United States of America, in regard to defendant FRANCISCO

 4 GARCIA, published the notice of forfeiture in accordance with the law via the official government

 5 internet forfeiture site, www.forfeiture.gov, consecutively from November 4, 2011, through December

 6 3, 2011, notifying all potential third parties and notified known third parties by personal service or by

 7 regular mail and certified mail return receipt requested, of their right to petition the Court. Notice of
 8 Filing Proof of Publication, ECF No. 114; Notice of Filing Service of Process, Parts I-IX, ECF Nos.

 9 153-161.

10           This Court finds the United States of America, in regard to defendants ELOY GARCIA and

11 EFRAIN GARCIA, published the notice of forfeiture in accordance with the law via the official

12 government internet forfeiture site, www.forfeiture.gov, consecutively from November 8, 2011,

13 through December 7, 2011, notifying all potential third parties and notified known third parties by

14 personal service or by regular mail and certified mail return receipt requested, of their right to petition

15 the Court. Notice of Filing Proof of Publication, ECF Nos. 116-117; Notice of Filing Service of

16 Process, Parts I-IX, ECF Nos. 153-161.

17           This Court finds the United States of America, in regard to defendant NABOR GARCIA,

18 published the notice of forfeiture in accordance with the law via the official government internet

19 forfeiture site, www.forfeiture.gov, consecutively from November 16, 2011, through December 15,

20 2011, notifying all potential third parties and notified known third parties by personal service or by

21 regular mail and certified mail return receipt requested, of their right to petition the Court. Notice of

22 Filing Proof of Publication, ECF No. 118; Notice of Filing Service of Process, Parts I-IX, ECF Nos.

23 153-161.

24          On July 19, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

25 and the Notice on the Internal Revenue Service by certified return receipt mail and regular mail.

26 Notice of Filing Service of Process – Part I, ECF No. 153, p. 2-23.
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 1          On July 19, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

 2 and the Notice on the Internal Revenue Service M/S 5021 PHX Special Procedures Section by

 3 certified return receipt mail and regular mail. Notice of Filing Service of Process – Part I, ECF No.

 4 153, p. 24-45.

 5          On July 10, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 6 Forfeiture and the Notice on U.S. Trustee LV 7. Notice of Filing Service of Process – Part I, ECF No.

 7 153, p. 46-66.
 8          On July 10, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 9 Forfeiture and the Notice on David A. Rosenberg, BK Trustee. Notice of Filing Service of Process –

10 Part I, ECF No. 153-1, p. 1-21.

11          On July 10, 2013, the Internal Revenue Service personally served the Preliminary Orders of

12 Forfeiture and the Notice on Rick A. Yarnall, BK Trustee. Notice of Filing Service of Process – Part I,

13 ECF No. 153-1, p. 22-42.

14          On July 19, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

15 and the Notice on Nevada Attorney General’s Office, c/o Attorney General Catherine Cortez Masto by

16 certified return receipt mail and regular mail. Notice of Filing Service of Process – Part I, ECF No.

17 153-1, p. 43-64.

18          On July 15, 2013, the Internal Revenue Service personally served the Preliminary Orders of

19 Forfeiture and the Notice on Nevada Dept. of Employment, Training, and Rehabilitation, Tom Susich,

20 Counsel. Notice of Filing Service of Process – Part I, ECF No. 153-2, p. 1-22.

21          On July 10, 2013, the Internal Revenue Service personally served the Preliminary Orders of

22 Forfeiture and the Notice on Nevada Dept. of Employment, Training, and Rehabilitation, c/o Director

23 Frank Woodbeck. Notice of Filing Service of Process – Part I, ECF No. 153-2, p. 23-43.

24          On July 19, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

25 and the Notice on Nevada Dept. of Employment, Training, and Rehabilitation, c/o Director Frank

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 1 Woodbeck by certified return receipt mail and regular mail. Notice of Filing Service of Process – Part

 2 I, ECF No. 153-2, p. 44-65.

 3          On July 19, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

 4 and the Notice on Nevada Department of Motor Vehicles, Motor Carrier Division Attn: Revenue Unit

 5 by certified return receipt mail and regular mail. Notice of Filing Service of Process – Part II, ECF No.

 6 154, p. 2-23.

 7          On July 19, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

 8 and the Notice on Nevada Governor, c/o Governor Brian Sandoval by certified return receipt mail and

 9 regular mail. Notice of Filing Service of Process – Part II, ECF No. 154, p. 24-45.

10          On July 11, 2013, the Internal Revenue Service personally served the Preliminary Orders of

11 Forfeiture and the Notice on Clark County Assessor c/o County Assessor Michelle F. Shafe. Notice of

12 Filing Service of Process – Part II, ECF No. 154, p. 46-66.

13          On July 11, 2013, the Internal Revenue Service personally served the Preliminary Orders of

14 Forfeiture and the Notice on Clark County Board of Commissioners c/o Chairman Steve Sisolak.

15 Notice of Filing Service of Process – Part II, ECF No. 154-1, p. 1-21.

16          On July 10, 2013, the Internal Revenue Service personally served the Preliminary Orders of

17 Forfeiture and the Notice on Clark County District Attorney’s Office c/o District Attorney Steven B.

18 Wolfson. Notice of Filing Service of Process – Part II, ECF No. 154-1, p. 22-42.

19          On July 10, 2013, the Internal Revenue Service personally served the Preliminary Orders of

20 Forfeiture and the Notice on Clark County District Attorney Family Support Division c/o District

21 Attorney Steven B. Wolfson. Notice of Filing Service of Process – Part II, ECF No. 154-1, p. 43-63.

22          On July 11, 2013, the Internal Revenue Service personally served the Preliminary Orders of

23 Forfeiture and the Notice on Clark County Recorder c/o County Recorder Debbie Conway. Notice of

24 Filing Service of Process – Part II, ECF No. 154-2, p. 1-21.

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 1          On July 19, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

 2 and the Notice on Clark County Treasurer c/o County Treasurer Laura Fitzpatrick by certified return

 3 receipt mail and regular mail. Notice of Filing Service of Process – Part II, ECF No. 154-2, p. 22-43.

 4          On July 11, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 5 Forfeiture and the Notice on Clark County Water Reclamation District c/o Clark County Clerk Diana

 6 Alba. Notice of Filing Service of Process – Part II, ECF No. 154-2, p. 44-64.

 7          On July 10, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 8 Forfeiture and the Notice on Clark County Water Reclamation District c/o Chairman Larry Brown.

 9 Notice of Filing Service of Process – Part III, ECF No. 155, p. 2-22.

10          On July 24, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

11 and the Notice on City of Las Vegas c/o Mayor Carolyn G. Goodman by certified return receipt mail

12 and regular mail. Notice of Filing Service of Process – Part III, ECF No. 155, p. 23-44.

13          On July 15, 2013, the Internal Revenue Service personally served the Preliminary Orders of

14 Forfeiture and the Notice on City of Las Vegas Attorney’s Office c/o City Attorney Bradford Jerbic.

15 Notice of Filing Service of Process – Part III, ECF No. 155, p. 45-65.

16          On July 15, 2013, the Internal Revenue Service personally served the Preliminary Orders of

17 Forfeiture and the Notice on City of Las Vegas Clerk’s Office c/o City Clerk Beverly Bridges. Notice

18 of Filing Service of Process – Part III, ECF No. 155-1, p. 1-21.

19          On July 15, 2013, the Internal Revenue Service personally served the Preliminary Orders of

20 Forfeiture and the Notice on City of Las Vegas Sewer c/o City Clerk Beverly Bridges. Notice of Filing

21 Service of Process – Part III, ECF No. 155-1, p. 22-42.

22          On July 11, 2013, the Internal Revenue Service personally served the Preliminary Orders of

23 Forfeiture and the Notice on Las Vegas Valley Water District, c/o Greg Walsh, General Counsel.

24 Notice of Filing Service of Process – Part III, ECF No. 155-1, p. 43-63.

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 1          On July 11, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 2 Forfeiture and the Notice on Las Vegas Valley Water District, c/o Patricia Mulroy, General Manager.

 3 Notice of Filing Service of Process – Part III, ECF No. 155-2, p. 1-21.

 4          On July 11, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 5 Forfeiture and the Notice on Las Vegas Valley Water District, c/o Mary Beth Scow, President. Notice

 6 of Filing Service of Process – Part III, ECF No. 155-2, p. 22-42.

 7          On July 19, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

 8 and the Notice on Republic Services by certified return receipt mail and regular mail. Notice of Filing

 9 Service of Process – Part III, ECF No. 155-2, p. 43-64.

10          On July 19, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

11 and the Notice on Donald W. Slager, President and CEO of Republic Services, Inc. by certified return

12 receipt mail and regular mail. Notice of Filing Service of Process – Part IV, ECF No. 156, p. 2-23.

13          On July 19, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

14 and the Notice on The Corporation Trust Company of Nevada, Registered Agent for Republic

15 Services, Inc. by certified return receipt mail and regular mail. Notice of Filing Service of Process –

16 Part IV, ECF No. 156, p. 24-45.

17          On July 19, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

18 and the Notice on Southern Nevada Power Company by certified return receipt mail and regular mail.

19 Notice of Filing Service of Process – Part IV, ECF No. 156, p. 46-67.

20          On July 11, 2013, the Internal Revenue Service personally served the Preliminary Orders of

21 Forfeiture and the Notice on Southern Nevada Power Company (c/o NV Energy). Notice of Filing

22 Service of Process – Part IV, ECF No. 156-1, p. 1-21.

23          On July 16, 2013, the Internal Revenue Service personally served the Preliminary Orders of

24 Forfeiture and the Notice on Gregg P. Barnard, Registered Agent for NV Energy. Notice of Filing

25 Service of Process – Part IV, ECF No. 156-1, p. 22-42.

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 1         On July 11, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 2 Forfeiture and the Notice on Michael W. Yackira, President of NV Energy. Notice of Filing Service of

 3 Process – Part IV, ECF No. 156-1, p. 43-63.

 4         On July 11, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 5 Forfeiture and the Notice on Michelle L. Abrams LTD. c/o Michelle L. Abrams. Notice of Filing

 6 Service of Process – Part IV, ECF No. 156-2, p. 1-22.

 7         On July 10, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 8 Forfeiture and the Notice on Callister & Reynolds. Notice of Filing Service of Process – Part IV, ECF

 9 No. 156-2, p. 23-43.

10         On July 10, 2013, the Internal Revenue Service personally served the Preliminary Orders of

11 Forfeiture and the Notice on Callister & Reynolds c/o Ronald Reynolds, Esq. Notice of Filing Service

12 of Process – Part IV, ECF No. 156-2, p. 44-64.

13         On July 10, 2013, the Internal Revenue Service personally served the Preliminary Orders of

14 Forfeiture and the Notice on Centro Hispano Law Group, P.C. c/o Michaels S. Terry. Notice of Filing

15 Service of Process – Part V, ECF No. 157, p. 2-22.

16         On September 18, 2013, the Internal Revenue Service served the Preliminary Orders of

17 Forfeiture and the Notice on Randolph Goldberg by regular mail. Notice of Filing Service of Process –

18 Part V, ECF No. 157, p. 23-48.

19         On July 10, 2013, the Internal Revenue Service personally served the Preliminary Orders of

20 Forfeiture and the Notice on Kravitz Schnitzer Sloane Johnson & Eberhardy c/o Jeffrey G. Sloane,

21 Esq. Notice of Filing Service of Process – Part V, ECF No. 157, p. 49-69.

22         On July 11, 2013, the Internal Revenue Service personally served the Preliminary Orders of

23 Forfeiture and the Notice on Law Office of Lisa A. Taylor c/o Lisa A. Taylor, Esq. Notice of Filing

24 Service of Process – Part V, ECF No. 157-1, p. 1-22.

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 1          On July 11, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 2 Forfeiture and the Notice on Mills & Associates c/o Lisa A Taylor, Esq. Notice of Filing Service of

 3 Process – Part V, ECF No. 157-1, p. 23-44.

 4          On July 11, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 5 Forfeiture and the Notice on Mills & Associates c/o Michael C. Mills, Esq. Notice of Filing Service of

 6 Process – Part V, ECF No. 157-1, p. 45-66.

 7          On July 18, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 8 Forfeiture and the Notice on Christopher E. Mumm, J.D. Notice of Filing Service of Process – Part V,

 9 ECF No. 157-2, p. 1-49.

10          On July 10, 2013, the Internal Revenue Service personally served the Preliminary Orders of

11 Forfeiture and the Notice on Patenaude & Felix A.P.C. c/o Peter K. Cleary, Esq. Notice of Filing

12 Service of Process – Part V, ECF No. 157-2, p. 50-71.

13          On July 10, 2013, the Internal Revenue Service personally served the Preliminary Orders of

14 Forfeiture and the Notice on Patenaude & Felix, A.P.C. c/o Wesltey Villanueva, Esq. Attn: Maureen

15 Mamone, Esq. Notice of Filing Service of Process – Part VI, ECF No. 158, p. 2-23.

16          On July 10, 2013, the Internal Revenue Service personally served the Preliminary Orders of

17 Forfeiture and the Notice on Patenaude & Felix, A.P.C. c/o Wesltey Villanueva, Esq. Notice of Filing

18 Service of Process – Part VI, ECF No. 158, p. 24-45.

19          On July 31, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

20 and the Notice on Pite Duncan, LLP c/o Laurel I. Handley by certified return receipt mail and regular

21 mail. Notice of Filing Service of Process – Part VI, ECF No. 158, p. 46-68.

22          On July 31, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

23 and the Notice on Pite Duncan, LLP c/o Steven W. Pite by certified return receipt mail and regular

24 mail. Notice of Filing Service of Process – Part VI, ECF No. 158-1, p. 1-23.

25          On December 13, 2013, IRS Special Agent Wade Berrett declared that Gerald A. Phillips, Esq.

26 was deceased based upon information from multiple sources. Additionally, S.A. Berrett contacted a
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 1 member of Phillips’ former law firm, Ron Svasek, who confirmed that Mr. Phillips was deceased as

 2 well. Svasek also said that the last four digits of the Social Security number of the defendant Francisco

 3 Garcia in criminal case 2:10-CR-454-JCM-(GWF), did not match the last four digits of the Social

 4 Security number of the defendant Francisco Garcia in the case that Mr. Svasek’s firm was involved in

 5 with Mr. Phillips. Notice of Filing Service of Process – Part VI, ECF No. 158-1, p. 24-45.

 6          On July 19, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

 7 and the Notice on Sara E. Witt, Pite Duncan, LLP by certified return receipt mail and regular mail.
 8 Notice of Filing Service of Process – Part VI, ECF No. 158-1, p. 46-68.

 9          On July 9, 2013, the Internal Revenue Service personally served the Preliminary Orders of

10 Forfeiture and the Notice on Samantha Carrillo. Notice of Filing Service of Process – Part VI, ECF

11 No. 158-2, p. 1-21.

12          On July 9, 2013, the Internal Revenue Service personally served the Preliminary Orders of

13 Forfeiture and the Notice on Alejandro Garcia. Notice of Filing Service of Process – Part VI, ECF No.

14 158-2, p. 22-42.

15          On July 9, 2013, the Internal Revenue Service personally served the Preliminary Orders of

16 Forfeiture and the Notice on Amalia Garcia. Notice of Filing Service of Process – Part VI, ECF No.

17 158-2, p. 43-63; Notice of Filing Service of Process – Part VII, ECF No. 159, p. 2-21.

18          On July 9, 2013, the Internal Revenue Service personally served the Preliminary Orders of

19 Forfeiture and the Notice on Elia Garcia. Notice of Filing Service of Process – Part VII, ECF No. 159,

20 p. 22-64 and ECF No. 159-1, p. 1-21.

21          On July 9, 2013, the Internal Revenue Service personally served the Preliminary Orders of

22 Forfeiture and the Notice on Elia A. Garcia. Notice of Filing Service of Process – Part VII, ECF No.

23 159-1, p. 22-63 and ECF No. 159-2, p. 1-21.

24          On July 9, 2013, the Internal Revenue Service personally served the Preliminary Orders of

25 Forfeiture and the Notice on Erica G. Garcia. Notice of Filing Service of Process – Part VII, ECF No.

26 159-2, p. 22-42.
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 1          On July 19, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

 2 and the Notice on Ramiro Garcia by certified return receipt mail and regular mail. Notice of Filing

 3 Service of Process – Part VII, ECF No. 159-2, p. 43-65.

 4          On July 9, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 5 Forfeiture and the Notice on Victor Alejandro Garcia. Notice of Filing Service of Process – Part VIII,

 6 ECF No. 160, p. 2-22.

 7          On July 31, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

 8 and the Notice on Yolanda Garcia by certified return receipt mail and regular mail. Notice of Filing

 9 Service of Process – Part VIII, ECF No. 160, p. 23-45.

10          On August 6, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

11 and the Notice on Eloy Garcia-Macias by certified return receipt mail and regular mail. Notice of

12 Filing Service of Process – Part VIII, ECF No. 160, p. 46-67.

13          On July 9, 2013, the Internal Revenue Service personally served the Preliminary Orders of

14 Forfeiture and the Notice on Javier Garcias-Morales. Notice of Filing Service of Process – Part VIII,

15 ECF No. 160-1, p. 1-63.

16          On July 9, 2013, the Internal Revenue Service personally served the Preliminary Orders of

17 Forfeiture and the Notice on Erika G. Garica-Torres. Notice of Filing Service of Process – Part VIII,

18 ECF No. 160-2, p. 1-21.

19          On July 18, 2013, the Internal Revenue Service served the Preliminary Orders of Forfeiture

20 and the Notice on Paola Moreno by certified return receipt mail and regular mail. Notice of Filing

21 Service of Process – Part VIII, ECF No. 160-2, p. 22-44.

22          On July 9, 2013, the Internal Revenue Service personally served the Preliminary Orders of

23 Forfeiture and the Notice on Artemio Saldana. Notice of Filing Service of Process – Part VIII, ECF

24 No. 160-2, p. 45-65; Notice of Filing Service of Process – Part IX, ECF No. 161, p. 2-43.

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 1         On July 10, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 2 Forfeiture and the Notice on Randolph Goldberg, by and through his attorney David Z. Chesnoff.

 3 Notice of Filing Service of Process – Part IX, ECF No. 161, p 44-64.

 4         On August 16, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 5 Forfeiture and the Notice on Clark County Clerk c/o County Clerk Diana Alba. Notice of Filing

 6 Service of Process – Part IX, ECF No. 161-1, p. 1-21.

 7         On August 16, 2013, the Internal Revenue Service personally served the Preliminary Orders of

 8 Forfeiture and the Notice on Clark County Clerk Board of Commissioners c/o Clark County Clerk

 9 Diana Alba. Notice of Filing Service of Process – Part IX, ECF No. 161-1, p. 22-42.

10         On August 19, 2013, the Internal Revenue Service personally served the Preliminary Orders of

11 Forfeiture and the Notice on Southern Nevada Water Authority c/o General Manager Patricia Mulroy.

12 Notice of Filing Service of Process – Part IX, ECF No. 161-1, p. 43-63.

13         On August 19, 2013, the Internal Revenue Service personally served the Preliminary Orders of

14 Forfeiture and the Notice on Southern Nevada Water Authority c/o General Counsel Gregory J.

15 Walch. Notice of Filing Service of Process – Part IX, ECF No. 161-2, p. 1-22.

16         On July 26, 2013, the Clark County Treasurer filed a Petition to Assert Legal Interest in

17 Forfeited Property. Petition, ECF No. 144.

18         On February 11, 2014, the Court granted the earlier motion (ECF No. 144) regarding Clark

19 County Treasurer’s legal interest in each of the properties subject to forfeiture for unpaid property

20 taxes. Order, ECF No. 162.

21         On October 28, 2014, the United States filed a Settlement Agreement for Entry of Order of

22 Forfeiture as to the Clark County Treasurer and Order. Settlement Agreement, ECF No. 166.

23         On October 31, 2014, the Court granted the Settlement Agreement for Entry of Order of

24 Forfeiture as to the Clark County Treasurer and Order. Order, ECF No. 167.

25         On August 1, 2013, Republic Services, Inc. filed a Petition to Adjudicate Legal Interest.

26 Petition, ECF No. 145.
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 1          On February 11, 2014, the Court granted the earlier motion (ECF No. 145) regarding Republic

 2 Services, Inc.’s legal interest in unpaid waste management fees on four of the real properties subject to

 3 forfeiture. Order, ECF No. 162.

 4          On August 2, 2013, the State of Nevada, Department of Employment, Training and

 5 Rehabilitation, Employment Security Division filed a Verified Claim for Interest in Property. Claim,

 6 ECF No. 146.

 7          On November 4, 2014, the United States filed a Settlement Agreement for Entry of Order of

 8 Forfeiture as to the State of Nevada, Department of Employment, Training and Rehabilitation,

 9 Employment Security Division and Order. Settlement Agreement, ECF No. 168.

10          On November 5, 2014, the Court granted the Settlement Agreement for Entry of Order of

11 Forfeiture as to the State of Nevada, Department of Employment, Training and Rehabilitation,

12 Employment Security Division and Order. Order, ECF No. 169.

13          On August 5, 2013, Victor Garcia and Erika Garcia filed a Petition for Hearing in regard to

14 their interest in the property at 3890 Idlewood Ave., Las Vegas, Nevada, County of Clark. Petition,

15 ECF No. 147.

16          On February 11, 2014, the Court denied Victor and Erika Garcia’s motion for a hearing (ECF

17 No. 147) and Ordered them to file a renewed motion containing evidence to support their claim to the

18 subject property no later than February 28, 2014. Victor and Erika Garcia did not file a renewed

19 motion by February 28, 2014. Order, ECF No. 162.

20          On August 9, 2013, Javier Garcia and Elia A. Garcia filed a Petition to Hearing to Adjudicate

21 Legal Interest in the Subject Real Property in regard to their interest in the property at 3752 Majestic

22 Palm, Clark County, Las Vegas, Nevada. Petition, ECF No. 148.

23          On February 11, 2014, the Court denied Javier and Elia A. Garcia’s motion for a hearing (ECF

24 No. 148) and Ordered them to file a renewed motion containing evidence to support their claim to the

25 subject property no later than March 14, 2014. Javier and Elia A. Garcia did not file a renewed motion

26 by March 14, 2014. Order, ECF No. 162.
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 1          On August 15, 2014, Nevada Power Company, d/b/a NV Energy, filed a Stipulation by the

 2 United States of America and NV Energy Concerning Easements regarding forfeited real property.

 3 Stipulation, ECF No. 149.

 4          On August 19, 2014, Nevada Power Company, d/b/a NV Energy, filed a First Amended

 5 Stipulation by the United States of America and NV Energy Concerning Easements regarding forfeited

 6 real property. Stipulation, ECF No. 150.

 7          On August 22, 2014, the Court granted the First Amended Stipulation by the United States of

 8 America and NV Energy Concerning Easements (ECF No. 150) regarding forfeited real property.

 9 Order, ECF No. 151.

10          On September 20, 2013, Clark County Water Reclamation District filed a Petition for Hearing

11 to Adjudicate Validity of Liens of Miscellaneous Forfeited Parcels of Land. Petition, ECF No. 152.

12          On February 11, 2014, the Court granted the earlier motion (ECF No. 152) regarding Clark

13 County Water Reclamation District’s legal interest in outstanding service obligations due on four real

14 properties subject to forfeiture. Order, ECF No. 162.

15           This Court finds no other petitions were filed herein by or on behalf of any person or entity

16 and the time for filing such petitions and claims has expired.

17           This Court finds no petitions are pending with regard to the assets named herein and the time

18 for presenting such petitions has expired.

19           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

20 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

21 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

22 32.2(c)(2); Title 18, United States Code, Section 981(a)(1)(A) and (a)(1)(C) and Title 28, United

23 States Code, 2461(c); Title 18, United States Code, Section 982(a)(1); and Title 21, United States

24 Code, Section 853(n)(7) and (p) and shall be disposed of according to law:

25           An in personam criminal forfeiture money judgment of $4,401,548.54 in United States
26 Currency, including:
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 1 a.        $43,473.41 in United States Currency, seized from Escrow Account Number FT100024888
             from the sale of 6411 Strongbow Drive, Las Vegas, Nevada 89156;
 2
     b.      3752 Majesty Palm, Las Vegas, Clark County, Nevada, more particularly described as:
 3           All that real property situated in the County of Clark, State of Nevada, bounded and described
             as follows:
 4           Lot 84 in Block 2 of Walnut Grove Unit 4 as shown by map thereof on file in Book 99 of Plats,
             Page 76 in the Office of the County Recorder of Clark County, Nevada
 5           with all appurtenances and improvements thereon (APN: 140-07-219-030);
 6 c.        2289 Black Bush Lane, Las Vegas, Clark County, Nevada, more particularly described as:
             All that real property situated in the County of Clark, State of Nevada, bounded and described
 7           as follows:
             Lot Fifty-two (52) In Block One (1) of Hollywood Vista - Phase 1, as shown by map thereof on
 8           file in Book 55 of Plats, Page 39, in the Office of the County Recorder of Clark County,
             Nevada with all appurtenances and improvements thereon (APN: 140-22-510-053);
 9
     d.      3890 Idlewood Avenue, Las Vegas, Clark County, Nevada, more particularly described as:
10           ALL THAT CERTAIN PROPERTY SITUATED IN THE COUNTY OF CLARK, AND
             STATE OF NV AND BEING DESCRIBED IN A DEED DATED 04/20/2009 AND
11           RECORDED 11/17/2009 IN INSTRUMENT NUMBER: 200911170003588 AMONG THE
             LAND RECORDS OF THE COUNTY AND STATE SET FORTH ABOVE, AND
12           REFERENCED AS FOLLOWS:
13           LOT FIFTY-TWO (52) IN BLOCK THREE (3) OF WALNUT GROVE UNIT 4, AS SHOWN
             BY MAP THEREOF ON FILE IN BOOK 99 ON PLATS, PAGE 76, IN THE OFFICE OF
14           THE COUNTY RECORDER, CLARK COUNTY, NEVADA.
             with all appurtenances and improvements thereon (APN: 140-07-116-008);
15
     e.      6644 Grand Oaks Drive, Las Vegas, Clark County, Nevada, more particularly described as:
16           All that real property situated in the County of Clark, State of Nevada, bounded and described
             as follows:
17           LOT EIGHTEEN (18) IN BLOCK FIFTEEN (15) OF HOLLYWOOD VISTA- PHASE 6 AS
             SHOWN BY MAP THEREOF ON FILE IN BOOK 71 OF PLATS, PAGE 43, IN THE
18           OFFICE OF THE COUNTY RECORDER OF CLARK COUNTY, NEVADA.
             with all appurtenances and improvements thereon (APN: 140-22-615-028); and
19
     f.      5455 Meikle Lane, Las Vegas, Clark County, Nevada, more particularly described as:
20           That portion of the Southwest Quarter (SW 1/4) of Section 21, Township 20 South, Range 62
             East, M.D.B.&M., described as follows:
21
             COMMENCING at the Northwest corner of the Southwest Quarter (SW 1/4) of said Section
22           21;
             THENCE North 89°45'48" East along the North line thereof a distance of 2,426.88 feet to a
23           point;
             THENCE South 0°00'48" East and parallel to the West line of the Southwest Quarter (SW 1/4)
24           of said Section 21, a distance of 358.26 feet to the TRUE POINT OF THE BEGINNING;
             THENCE South 89°34'00" East a distance of 100' to a point;
25           THENCE South 0°57'35" East and parallel to the East line of the Southwest Quarter (SW 1/4)
             of the said Section 21, a distance of 229.00 feet to a point;
26           THENCE North 89°34'00" West a distance of 100.00 feet to a point;
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            THENCE 0°5'35" West a distance of 229.00 feet to the TRUE POINT OF BEGINNING.
 1          with all appurtenances and improvements thereon (APN: 140-21-307-003)
 2 (all of which constitutes “property”).

 3          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

 4 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

 5 income derived as a result of the United States of America’s management of any property forfeited

 6 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

 7          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

 8 certified copies to the United States Attorney’s Office.

 9                November
            DATED this ___ day 14, 2014.
                               of ______________, 2014.

10

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12
                                                  UNITED STATES DISTRICT JUDGE
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 1                                        PROOF OF SERVICE
 2         I, Ray Southwick, Forfeiture Support Associates Paralegal, certify that the following

 3 individuals were served with copies of the Final Order of Forfeiture on November 13, 2014, by the

 4 below identified method of service:

 5
           Electronic Filing
 6
           Gabriel L. Grasso                                      Mark E. Wood
 7         Gabriel L. Grasso, P.C.                                Clark County District Attorney’s Office
           9525 Hillwood Dr. Ste. 190                             Civil Division 500 S. Grand Central
 8         Las Vegas, NV 89134                                    Pkwy 5th Floor
           Gabriel@grassodefense.com                              P.O. Box 552215
 9         Counsel for Francisco Garcia                           Las Vegas, NV 89155-2215
                                                                  mark.wood@clarkcountyDA.com
10         Randall J. Roske                                       Counsel for Clark County Treasurer,
           Law Office of Randall J. Roske                         Laura B. Fitzpatrick
11         2055 W. Charleston Blvd. Ste. C                        Interested Party
           Las Vegas, NV 89102-2258
12         randallroske@yahoo.com                                 Donald H. Williams
           Counsel for Eloy Garcia                                Williams & Associates
13                                                                612 S. 10th St.
           Alex Mendoza                                           Las Vegas, NV 89101
14         Mendoza and Associates                                 dwilliams@dhwlawlv.com
           P.O. Box 4500                                          Counsel for Republic Services, Inc.
15         Laguna Beach, CA 92652-4500                            Interested Party
           Mendozalaw.am@gmail.com
16         Counsel for Efrain Garcia                              J. Thomas Susich
                                                                  State of Nevada Department of
17         Donald T. Polednak                                     Employment, Training and
           Sylvester & Polednak, Ltd.                             Rehabilitation
18         7371 Prairie Falcon Ste. 120                           Employment Security Division
           Las Vegas, NV 89128                                    1675 E. Prater Way Ste. 103
19         don@sylvesterpolednak.com                              Sparks, NV 89434
           Counsel for Efrain Garcia                              tsusich@nvdetr.org
20                                                                Counsel for Dept. of Employment
           Jonathan Powell                                        Training and Rehabilitation
21         214 S. Maryland Pkwy.                                  Interested Party
           Las Vegas, NV 89101
22         Jpowell.law@gmail.com                                  Leslie A. Park
           Counsel for Nabor Garcia                               630 S. 7th St.
23                                                                Las Vegas, NV 89101
                                                                  les_law60@hotmail.com
24                                                                Counsel for Victor Garcia
                                                                  Interested Party
25

26
                                                     17
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 1      Leslie A. Park                                      Peter M. Angulo
        630 S. 7th St.                                      Olson, Cannon, Gormley, Angulo &
 2      Las Vegas, NV 89101                                 Stroberski
        les_law60@hotmail.com                               9950 W. Cheyenne Ave.
 3      Counsel for Erika Garcia                            Las Vegas, NV 89129
        Interested Party                                    Counsel for Clark County Water
 4                                                          Reclamation District
        Michael G. Chapman                                  Interested Party
 5      Law Office of Michael G. Chapman
        9585 Prototype Court Ste. C                         Regular U.S. Mail
 6      Reno, NV 89521
        ccorson@michaelchapman.com                          Javier Garcia
 7      Counsel for NV Energy                               Interested Party
        Interested Party                                    P.O. Box 174
 8                                                          Richgrove, CA 93261
 9                                                          Elia A. Garcia
                                                            Interested Party
10                                                          P.O. Box 174
                                                            Richgrove, CA 93261
11

12

13

14

15                                         /s/Ray Southwick
                                           Ray Southwick
16                                         Forfeiture Support Associates Paralegal
17

18

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                                                2
